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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                           )
                                                 )        Case No. 19-10286-TBM
11380 Smith Rd LLC                               )        Chapter 7
                                                 )
         Debtor                                  )


            NOTICE OF FILING WAIVER AND ACCEPTANCE OF SERVICE


       PLEASE TAKE NOTICE that Mid America Plastic Systems, by and through its
attorneys Shapiro Bieging Barber Otteson, LLP, hereby files the attached executed Waiver and
Acceptance of Service of Summons to Debtor in Involuntary Case dated January 16, 2019.

         DATED: January 21, 2019.

                                          SHAPIRO BIEGING BARBER OTTESON LLP

                                                 /s/ Duncan E. Barber
                                          Duncan E. Barber, #16768
                                          7979 E. Tufts Avenue, Suite 1600
                                          Denver, Colorado 80237
                                          Telephone (720) 488-0220
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                                          dbarber@sbbolawyers.com
                                          Attorneys for Debtor




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                       UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO


In re:                                           )
                                                 )        Case No. 19-10286-TBM
11380 Smith Rd LLC                               )        Chapter 7
                                                 )
           Debtor                                )


                      WAIVER AND ACCEPTANCE OF SERVICE



       The undersigned, Aaron Garber, as counsel for 11380 Smith Rd LLC ("Debtor"),
acknowledges receipt of the Summons to Debtor in Involuntary Case dated January 16, 2019, in
the above-entitled action, and hereby accepts service of the same for Debtor.


DATED: January 18, 2019                   FOR 1 1380 SMITH RD LLC


                                          Bv: Is/ Aaron A. Garber
                                                 Aaron A. Garber, #36099
                                                 BUECHLER & GARBER, P.C.
                                                 999 18th Street, Suite 1230S
                                                 Denver, CO 80202
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